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                          IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

     JUAN LOZADA-LEONI,             §
                                    §
           Plaintiff,               §
                                    §
       vs.                          §
                                    §                     Civil Action No. 4:20-cv-68
     MONEYGRAM INTERNATIONAL, INC., §
     and MONEYGRAM PAYMENT          §
     SYSTEMS, INC.,                 §
           Defendants.              §
                                    §
                                    §


         INTERVENOR KLG’S ORIGINAL COMPLAINT FOR ATTORNEY’S FEES




          Comes now Kardell Law Group (KLG), Intervenor in the above referenced matter, and

   files this its Original Complaint for Attorney’s Fees and would thereafter show the Court as

   follows:

      A. Parties and Service of Process:
             1. Plaintiff is and has been the Plaintiff in the above referenced action.

               2. Intervenor Kardell Law Group previously represented Plaintiff in the above

       referenced action until on or about 04/15/2020, at which time the KLG was terminated by

       Plaintiff.

               3. No service of processes is required here. All documents filed herein by Intervenor

       KLG are automatically served on Plaintiff through the Court’s Electronic Filing system.




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     B. Jurisdiction and Venue:
            4. Jurisdiction is proper in this Court as this dispute arises out of a SOX Complaint

      duly initiated at the administrative level and thereafter duly removed to this Court under the

      “kick-out” provision of SOX.

              5. Venue has previously been established by this Court’s order dated 1/28/2020.

              6. Plaintiff retained the Kardell Law Group to represent him in litigation against

      MoneyGram on 9/8/2017.

              7. The terms of the representation were a 40% contingent fee in the event litigation

      was initiated, less an initial retainer of $7,500, paid by Plaintiff at the time of the legal

      engagement with KLG. See Exhibit 1.

              8. Plaintiff also agreed to be responsible for case expenses up to a maximum of

      $15,000.

              9. Plaintiff terminated KLG sometime prior to 4/15/2020 and KLG withdrew from

      this proceeding on 4/15/2020.

              10.        On 10/26/2020, KLG filed its intervention, seeking recovery of its portion

      of any settlement proceeds herein.

              11.        On or about 10/28/2020 this matter was announced as settled.

              12.        KLG thereafter made its demand for a portion of the settlement agreement.

      Plaintiff refused the demand.

              13.        All conditions precedent required herein for KLG to prevail on its claims

      have either been performed or have occurred prior to the initiation of this Original

      Complaint.

     C. Breach of Contract:
            14.      KLG incorporates the foregoing paragraphs as if set forth fully herein.


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             15.         On 9/8/2017, Plaintiff and KLG entered into a valid binding contract for

      legal services. Those services have been adequately performed by KLG.

             16.         Thus, because of Plaintiff’s breach of this contract, KLG has sustained

      actual damages.

     D. Quantum Meruit:
           17.     KLG incorporates the foregoing paragraphs as if fully set forth herein.

             18.         In the alternative, KLG is entitled to damages from Plaintiff under the

      doctrine of quantum meruit.

             19.         KLG rendered services to Plaintiff that were valuable to Plaintiff.

             20.         Plaintiff accepted KLG services or accepted the benefit of KLG services.

             21.         Moreover, Plaintiff accepted KLG services under such circumstances as

      reasonably notified Plaintiff that KLG, in performing those legal services herein, expected to

      be paid by them.

             22.         Plaintiff has wrongly refused to pay KLG for its legal services. As a result,

      KLG has sustained actual damages as a result of Plaintiff's refusal to pay for those legal

      services.

     E. Attorney’s fees:
            23.       KLG has retained and agreed to pay the undersigned for its representation

      herein. An award of reasonable attorney’s fees to KLG is proper pursuant to Tex. Civ. Prac.

      & Rem. Code Ann. §38.001 et seq. to recover its attorney’s fees and expenses in this action.

             24.         Due to the contractual breaches and non-payment for valuable legal

      services provided to and accepted by Plaintiff, KLG seeks to recover all its attorney’s fees

      that have been and will be incurred through trial and entry of judgment in this matter, and




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       any attorney’s fees for post judgment activity or enforcement of the Court’s rulings, any

       including any subsequent appeals.

               25.       Intervenor KLG has complied with all conditions precedent set forth in

       Tex. Civ. Prac. & Rem. Code Ann. §38.001 et seq. to recover its attorney’s fees and

       expenses in this action.

      F. Pre-judgment and post-judgment interest:
             26.     KLG seeks pre-judgment interest at the maximum rate allowed by law

       (either common law, statute, equity or otherwise) on all actual damages awarded to KLG by

       the trier of fact. KLG also seeks post-judgment interest at the maximum rate allowed by law

       (either by common law, statute, equity or otherwise) on all damages awarded by the trier of

       fact herein.


                                               Prayer:
          For these reasons, KLG prays that Plaintiff be cited to appear herein, for an award of

   damages, as pled above, together with attorney’s fees, costs of court, pre- and post-judgment

   interest, and such other and further relief at law or equity to which KLG may be entitled.



                                                            Respectfully submitted,

                                                                    /s/ Steve Kardell
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